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                              U N ITE D STA TES D ISTR IC T CO UR T
                              SO U TH ER N DISTR ICT O F FLO R ID A

                                 C ASE N O .06-22128-C IV -K IN G
                         CASE NO.11-22568-ClV-KING (consolidated)
  A LBERTO JU STO R OD RIGU EZ LICEA ,
  FERN A ND O ALON SO H ERN AN D EZ
  ANDLUISALBERTOCASANOVAV LEDO,
         Plaintiffs,



  CU RA CA O D RY DO CK COM PAN Y ,lN C .,
  a/k/aCURACAOSE DOKM AATSCHAPPIJNV ,
  a1V a CD M N V ,

         Defendant.


                 O RD ER STA Y IN G D EFEN DA N TS'M O TIO N S TO D ISM ISS

         TH IS M A TTER com esbefore the Courtupon consideration ofthe Country ofCuraçao's

  M otiontoDismissforLackofSubjectM atterJurisdictionBasedonSovereignImmunity(CaseNo.
   11-22568-C1V,DE //17)andtheKingdom oftheNetherlands'M otion toDismiss(CaseNo.11-
  22568-C1V,DE //18),both filed February 6,2012.Therein,DefendantstheCountry ofCuraçao

  (tscuraçao'')andtheKingdom oftheNetherlands(CdtheNetherlands'')movetodismissPlaintiffs'
  ComplaintbyassertingsovereignimmunityundertheForeignSovereignImmunitiesAct((çFS1A'').
  Forthefollowing reasons,theCourtfindsthatitmuststaytheM otionsto Dism isspending lim ited

  J'urisdictionaldiscovery.

         lntheabove-styledconsolidatedaction,Plaintiffsseektocollectajudgmententeredagainst
  DefendantCuraçao Drydock Com pany,Inc.from Curaçao andtheNetherlandsunderthetheories

  of alter ego liability and fraudulenttransfer.Curaçao and the N etherlandshave m oved to dism iss
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  Plaintiffs'attemptsto hold them liable forthejudgmentagainstDefendantCuraçao Drydock
  Com pany,Inc.,arguingthatthey are shielded from any litigation by the FSIA.

         Almostfouryearsago,inCaseNo.06-22128-C1V,theCourtenteredfinaljudgmentagainst
  Defendant Curaçao Drydock Com pany, Inc. in the am ount of $80,000,000.00, finding that

  DefendantCuraçaoDrydock Company,Inc.wasliableto Plaintiffsforenslavingthem pursuantto

  anagreementwiththegovemmentofCuba.(CaseNo.06-22128-C1V,DE//112).Subsequenttothe
  entryofjudgment,PlaintiffsmovedtoalterjudgmenttoimpleadCuraçaoandtheNetherlandsand
  to add Curaçao and theNetherlandsasjudgmentdebtors,on thetheorythatCuraçao and the
  Netherlands controlled and funded the commercialactivities of Defendant Curaçao Drydock

  Company,Inc.(CaseNo.06-22128-C1V,DE#120).OnApril20,2010,M agistrateJudgeBandstra
  entered an orderimpleading Curaçao and theNetherlandsforthepurpose ofsupplem entarypost-

  judgmentproceedingsinaidofexecution.(CaseNo.06-22128-C1V,DE //133).Curaçaoand the
  Netherlandsthen fled a Motion to DismissBased on Lack ofSubjectM atterJurisdiction and
  Sovereign Immunity (CaseNo.06-22128-C1V,DE //143).On M ay 27,2011,theCourtgranted
  Curaçao andtheN etherlands'M otion anddism issedPlaintiffs'M otiontoAlterJudgmentwithout

  prejudice,findingthatPlaintiffs'hadnotsufficientlypledanexceptiontotheFSIA.(CaseNo.06-
  22128-ClV,DE #180).
         Then,onJuly 18,2011,Plaintiffsfiled atim ely Am endedM otiontoAmendtheCaption and

  Add the SupplementalDefendants as JudgmentDebtors or,in the Altem ative,to Take Specific

  Discovery from the SupplementalDefendants.(CaseNo.06-22128-C1V,DE #183).TheCourt
  granted Plaintiffs'M otionto Take SpecificDiscovery,findingthatPlaintiffshad sufticiently pled

  the existence ofcomm ercialassetsin the United States.The Courtdenied,however,Plaintiffs'

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  motiontoamendthecaptionoraddCuraçaoandtheNetherlandsasjudgment-debtors,findingthat
  itwasprematuretodeterminewhetherjurisdictionexistedoverCuraçaoandtheNetherlandsprior
  toafactualrecordbeingdevelopedthroughlimitedjurisdictionaldiscovery.(CaseNo.06-22128-
  CIV,DE #185).Presently,Plaintiffs,Curaçao,and the Netherlandsare engaged in limited

  jurisdictionaldiscoverytodeterminewhetheranexceptiontotheFSIA appliestopermitthepost-
  judgmentproceedingsagainstCuraçaoandtheNetherlandstoprogress.(CaseNo.06-22128-C1V,
  DE //279).
         Turning to the instantmatter,on July 28,2011,the same day thatPlaintiffs filed their

  Am ended M otion in CaseN o.06-22128-C1V,Plaintiffsalso filed anew Complaintin anew case

  seekingtocollectthesamejudgmententeredagainstCuraçaoDrydockCompany,lnc.(CaseNo.
  11-22568-C1V,Compl.,DE #1).ThatcasewasassignedtotheHonorableJoanA.Lenard,andwas
  eventuallytransferred totheundersigned onAugust13,2012,whereitwasconsolidated with Case

  N o.06-22128-C1V.CurrentlypendingintheconsolidatedactionaretheinstantM otionstoDism iss.

  (CaseNo.11-22568-C1V,DE #17&18).
         Upon review ofthepleadingsin CaseN o.11-22568-C1V,the CourtfindsthatPlaintiffs'

  Com plaintsufticiently pleadsan exception to the FSIA .The Courtalso findsthat,priorto a factual

  recordbeingdevelopedthroughlimitedjurisdictionaldiscovery,itisprematuretodeterminewhether
  jurisdictionactuallyexistsoverCuraçaoandtheNetherlandsandruleonthependingM otionsto
  Dismiss.ln addition,the Courtfindsthatthe issue of Curaçao and the Netherlands'sovereign

  immunityinthepost-judgmentproceedingsinCaseNo.06-22128-C1V issubstantiallysimilarto
  theissueofsovereign immunity raised in theinstantM otionsto Dism iss.Accordingly,theCourt

  findsthattheinstantM otionsshouldbestayedpendingthelimitedjurisdictionaldiscoverycurrently
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  underway in Case N o.06-22128-C1V .

        Accordingly,upon carefulconsideration oftherecord,and being otherwisefullyadvised,it

  isORDERED,ADJUDGED,and DECREED thattheCountry ofCuraçao'sM otion toDismiss

  forLackofSubjectM atterlurisdictionBasedonSovereignlmmunitytcaseNo.11-22568-C1V,DE
  #17)andtheKingdom oftheNetherlands'MotiontoDismiss(CaseNo.11-22568-C1V,DE //18)
  arehereby STAYED untilfurthernotice.

        DONE andO RDERED inCham bersattheJam esLawrenceKingFederalJusticeBuilding

  and United States DistrictCourthouse,M iam i,Florida this 16th day ofA ugust,2012.

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